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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

lntersections, lnc., et al.,
Plaintiff,

v. Case No. l:090v597 (LMB/TCB)

Joseph C. Loomis, et al.,

Defendant.

 

 

OBJECTIONS TO MAGISTRATE JUDGE’S ()RDER
ON MOTION FOR RECUSAL AND OBJECTION T() MODE
OF PROCEDURE FOR REPORT AND RECOMMENDATI()N

Comes novv Defendant Joseph C. Loomis, by counsel, and lodges this objection to the
Order of the Hon. Theresa C. Buchanan denying the motion to recuse herself (Docket No. 196).
Defendant has previously argued, in connection With the merits of the enforceability of the
settlement, that Magistrate Judge Buchanan should not have been involved in the adjudication of
that issue. Defendant lodges this appeal for purposes of completeness of the record. As and for
his grounds, Defendant adopts and incorporates herein the arguments set forth in Docket No. 152

(Memorandum in Support of Motion for Recusal and Obj ection to Mode of Procedure for Report

and Recommendation).

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

l hereby certify that on this 12th day of October, 2010, I have filed a true and correct copy of
the foregoing With the Clerk of Court via the Cl\/I/ECF efiling system Which Will send notification of
this filing to the following counsel of record:

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